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                                                                                      FlLbD
                                                                                  IN nPFN COl.'RT

                        IN THE UNITED STATES DISTRICT COURT For
                                                                                  JUN - 6 2023
                             THE EASTERN DISTRICT OF VIRGINI/^
                                                                             CLERK, U.S. DISTRICT COURT
                                                                                    MORFOLK. VA
                                   NEWPORT NEWS DIVISION


    UNITED STATES OF AMERICA


                   V.                                   CRIMINAL N0.4:23cr35


    JAMAR SHAETEEM BROWN


                   Defendant.



                                      STATEMENT OF FACTS


           Comes now the United States and offers to the court that had the above-styled matter
    proceeded to trial the United States would have proven the following facts beyond a
    reasonable doubt.


   1.     In 2021, Members of the investigative team began investigating a Drug Trafficking

   Organization that involved JAMAR SHAHEEM BROWN and an address on Goldsboro Drive, in

   Hampton, Virginia. On Thursday, October 13, 2022, members of the investigate team responded

  to the Goldsboro Drive address in reference to locating BROWN, who had outstanding arrest

   warrants from Newport News, Virginia and Hampton, Virginia. BROWN was wanted from

   Newport News, Virginia for a Felony Probation Violation and from Hampton, Virginia for

   Brandishing a Firearm and Possession of a Firearm by a Convicted Felon.


   2.     During surveillance, BROWN was observed leaving the Goldsboro Drive address.

   Members ofthe investigative team arrested BROWN. During a search incident to arrest, members

   of the investigative team located approximately $48,955.00 in United States Currency, a quantity

   of cocaine, a quantity of heroin, a quantity of crystalline methamphetamine, various prescription




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   pills, a quantity of "crack" cocaine, multiple cell phones, and a digital scale with suspected

   narcotics residue.



   3.     Members of the investigate team obtained and executed a state search warrant for the

   Goldsboro Drive address and BROWN's vehicle. Pursuant to these search warrants, the

   investigative team located additional quantities of cocaine, methamphetamine and marijuana, a

   kilogram press machine, mixing agents, cutting agents, packaging materials, and several digital

   scales with suspected narcotics residue. Additionally, a Clock Handgun, was located in the

   residence.



   4.     In a Post-Miranda Interview, BROWN admitted to selling marijuana, heroin, cocaine, and

   methamphetamine. Cocaine and methamphetamine are Schedule II narcotic controlled substances

   and marijuana, and heroin are Schedule I controlled substances. The parties agree that the

   defendant is responsible for a converted drug weight of more than 3000 kilograms and less than

   10,000 kilograms. These events occurred in the Newport News Division ofthe Eastern District of

   Virginia and elsewhere.



                                                       Respectfully submitted,

                                                       JESSICA D. ABER
                                                       UNITED STA


                                                       Eric M. Hurt
                                                       Assistant United States Attorney
                                                       Fountain Plaza Three, Suite 300
                                                       721 Lakefront Commons
                                                       Newport News, Virginia 23606
                                                       VA Bar #35765
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           After consulting with my attorney and pursuant to the plea agreement entered into this
   day between the defendant, JAMAR SHAHEEM BROWN and the United States, I hereby
   stipulate that the above Statement of Facts is true and accurate, and that had the matter
   proceeded to trial, the United States would have proved the same beyond a reasonable doubt.


                                                   3
                                                   JAMAR SHAHEEM BROWN



          I am JAMAR SHAHEEM BROWN's attorney, and I have carefully reviewed the
   above Statement of Facts with the defendant. Jjq my knowledge, the decision to stipulate to
   these facts is an informed and voluntary one.


                                                     me Katchmar
                                               Attorney for JAMAR SHAHEEM BROWN
